                 Case 3:19-cv-07431-JSC Document 9 Filed 11/25/19 Page 1 of 8


 1   SAIRA HUSSAIN (SBN 300326)
     saira@eff.org
 2   JENNIFER LYNCH (SBN 240701)
     jlynch@eff.org
 3   MARK RUMOLD (SBN 279060)
     mark@eff.org
 4   ELECTRONIC FRONTIER FOUNDATION
     815 Eddy Street
 5   San Francisco, CA 94109
     Telephone: (415) 436-9333
 6   Facsimile: (415) 436-9993

 7
     Attorneys for Plaintiff
 8   ELECTRONIC FRONTIER FOUNDATION

 9
                               UNITED STATES DISTRICT COURT
10
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
11
                                  SAN FRANCISCO DIVISION
12
     ELECTRONIC FRONTIER FOUNDATION,             )
13                                               )
                                    Plaintiff,   )   Case No. 19-cv-07431
14                                               )   Action Filed: Nov. 12, 2019
            V.
                                                 )
15                                               )
                                                 )   PROOF OF SERVICE
     UNITED STATES DEPARTMENT                    )
16   OF HOMELAND SECURITY,                       )
17                                               )
                                  Defendant.     )
18                                               )
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                                         PROOF OF SERVICE
               Case 3:19-cv-07431-JSC Document 9 Filed 11/25/19 Page 2 of 8


 1                                           PROOF OF SERVICE
 2
            I, Victoria Python, do hereby affirm that I am over the age of 18 years and not a party to the
 3
     within action. My business address is 815 Eddy Street, San Francisco, California, 94109.
 4
            On November 20, 2019 1 served the following documents:
 5              ¯   Complaint
 6              ¯   Summons
 7              ¯   Certificate of Interested Entities or Parties
 8              ¯   Entry of Appearance of Jennifer Lynch
 9
                ¯   Entry of Appearance of Mark Rumold
10              ¯   Notice of Case assigned to Magistrate Judge Jacqueline Scott Corely
11              ¯   Order Setting Initial Case Management Conference and iADR Deadlines
12              ¯   Notice of Assignment of Case to a US Magistrate JUdge     ,




13              ¯   Notice of Availability of Magistrate Judge to Exercise Jurisdiction
14              ¯   Consenting to the Jurisdiction of a Magistrate Judge
15
                ¯   Civil Standing Order for Magistrate Judge Jacqueline Scott Corley
16
                ¯   Settlement Conference Standing Order for Magistrate Judge Jacqueline Scott Corley
17
                ¯   Standing Order for All Judges of the Northern District of California: Contents of Joint
18
                    Case Management Statement
19
                ¯   Northern District of California's Joint Case Management Statement and [Proposed]
20
                    Order form                                        ....


21
                ¯   ECF Registration Information Handout              -•:
22
                ¯   ADR Dispute Resolution Procedures in the Northern.. District of California
23
            On the person(s) below as follows
24
      X     By United States Certified Mail, I enclosed the documents in a sealed envelope addressed to:
25
                    Office of General Counsel
26                  Department of Homeland Security
                    245 Murray Lane, S.W.
27                  Washington, DC 20528

28

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                                               PROOF OF SERVICE
                Case 3:19-cv-07431-JSC Document 9 Filed 11/25/19 Page 3 of 8


 1                  Attorney General of the United States
                    Department of Justice
2                   950 Pennsylvania Avenue, NW
                    Washington, DC 20530-0001
3
                    United States Attorney for the Northern District of California
4                   Department of Justice
                    ATTN: Civil Process Clerk
5                   450 Golden Gate Avenue, 1 lth Floor
                    San Francisco, CA 94102
6
 7   And deposited the sealed envelopes with the United States Postal Service, with postage fully pre-
 8   paid. I am a resident of the county where the mailing occurred. The envelope was placed in the mail
 9   at San Francisco, California.
10          I declare under the laws of the State of California that the foregoing is true and correct and
11   was executed on November 20, 2019
12
13
14
15                                                Victoria Python
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Case 3:19-cv-07431-JSC Document 9 Filed 11/25/19 Page 4 of 8


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USPS Tracking®
              Case 3:19-cv-07431-JSC Document 9 Filed 11/25/19 Page 5 of 8


Tracking Number: 70190700000198093662

Your item was delivered to an individual at the address at 12:10 pm on November 22, 2019 in ZIP Code 20582.




✓ Delivered
November 22, 2019 at 12:10 pm
Delivered, Left with Individual
20582

Get Updates "




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   Text & Email Updates


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          mbbeerr 2222,, 22001199,, 1122::1100 ppm
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   Delivered, Left with Individual
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   Your item was delivered to an individual at the address at 12:10 pm on November 22, 2019 in ZIP Code 20582.



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          mbbeerr 2222,, 22001199,, 99::1177 aam
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   Arrived at Unit
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          mbbeerr 2222,, 22001199,, 55::1155 aam
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   Arrived at USPS Regional Destination Facility
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   SAN FRANCISCO CA DISTRIBUTION CENTER



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   SAN FRANCISCO, CA 94102



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   SAN FRANCISCO, CA 94102




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             Case 3:19-cv-07431-JSC Document 9 Filed 11/25/19 Page 6 of 8
                                                         See Less #




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Tracking Number: 70190700000198093648

Your item was delivered at 5:10 am on November 25, 2019 in WASHINGTON, DC 20530.




✓ Delivered
November 25, 2019 at 5:10 am
Delivered
WASHINGTON, DC 20530

Get Updates "




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  Text & Email Updates


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  WASHINGTON, DC 20530
  Your item was delivered at 5:10 am on November 25, 2019 in WASHINGTON, DC 20530.



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  Available for Pickup
  WASHINGTON, DC 20022



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  Arrived at Unit
  WASHINGTON, DC 20018



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  Arrived at USPS Regional Destination Facility
  WASHINGTON DC DISTRIBUTION CENTER



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  Arrived at USPS Regional Destination Facility
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  In Transit to Next Facility



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  SAN FRANCISCO CA DISTRIBUTION CENTER



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  Arrived at USPS Regional Origin Facility
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              Case 3:19-cv-07431-JSC Document 9 Filed 11/25/19 Page 7 of 8
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Your item was delivered to an individual at the address at 12:52 pm on November 21, 2019 in SAN FRANCISCO, CA 94102.




✓ Delivered
November 21, 2019 at 12:52 pm
Delivered, Left with Individual
SAN FRANCISCO, CA 94102

Get Updates "




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   Text & Email Updates


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          mbbeerr 2211,, 22001199,, 99::0044 aam
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   Arrived at Unit
   SAN FRANCISCO, CA 94124



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          mbbeerr 2211,, 22001199,, 66::4455 aam
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   Arrived at USPS Facility
   SAN FRANCISCO, CA 94124



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           Case 3:19-cv-07431-JSC Document 9 Filed 11/25/19 Page 8 of 8
SAN FRANCISCO, CA 94102



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